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Exhibit 2
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JOHN HUEBNER, et al., Case No. 14-cv-04735-VC
Plaintiffs,
ORDER GRANTING MOTION FOR
Vs RELIEF FROM DEFAULT JUDGMENT
RADARIS, LLC, et al., Re: Dkt. No. 54
Defendants.

The motion of non-parties Accuracy Consulting Ltd. and Bitseller Expert Limited for
relief from the default judgment is granted. The current record does not permit a conclusion that
Accuracy and Bitseller are acting in concert with the named defendants in this case. See Fed. R.
Civ. P. 65(d)(2). Moreover, it appears from the current record that the plaintiffs, in the exercise
of diligence, could have named Accuracy and Bitseller as defendants at the outset of this
litigation. And, as counsel for the plaintiffs concedes, the plaintiffs never submitted evidence
before entry of judgment that Accuracy and Bitseller were involved in the unlawful conduct that
was the subject of this lawsuit. These facts raise additional concerns about the propriety of
applying the injunction to Accuracy and Bitseller at this stage.

If the plaintiffs wish to proceed against Bitseller and Accuracy, they may do so, but
Bitseller and Accuracy will have a chance to defend themselves if they wish. The Court
expresses no opinion at this time on whether it would be more appropriate for the plaintiffs to
seek to amend this complaint or to file a separate one. If the plaintiffs file a separate lawsuit in

the Northern District of California, they may seek to relate the new lawsuit to this one under

Local Rule 3-12.
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IT IS SO ORDERED.

Dated: May 4, 2018 fee.

VINCE CHHABRIA
United States District Judge

